Case 3:15-cv-00959-I\/||\/|H-.]RK Document 34-2 Filed 04/26/18 Page 1 of 2 Page|D 456

 

UNFTED STATES DISTRECT COURT
MIDDL.E DISTRECT Of~' FLORIDA

Atlgttst E, 2015

Dear Counsel:

Encloscd with this lcttcr is a communication f`rtnn the C`|crlt ol`t|tis Cnurt affording you thc opportltni£)'. with thc approval
Ot`thc L|.S, District Judgc, to consent to thc reference ol`tiny pan nr fill nt`thc proceedings in this case 10 xi U.S. A-iagistratc
Judg€. inducing reference for final disposition

Carcfu| consideration Shnuld be given to this nptinn.

Tn assist the federal courts in coping with dr:tn‘lnticzllly increased cnsi:lnnds. C`.nn§_rcs;s authorized the reference to n L.Y.S.
Magistratt: ]udgc of`an}' part or ali willie procccclings in n civil cat:~;c. htttltjtn‘_\' and itt)lt~jttt'_\" upon Conscm n|`:i|i parties (23
U,S.C`. § 636{¢}}_ All ol`t|tc L-ZS. District ludch in this |.)ii;t:'icl refer cases under this prt)\-'i$ion to our able and c.\‘pcricnccd
U.S. Nia§istratc Judgcs who nrc nlmc§t always able to Scht’:¢ittic early auth |i:‘m trial tlntcs. in accordance with the ncccis ol`
the parties.

\Vhetitur to consent to a reference to a l,;’.S. :\»Iagistratc lodge is entirely up to you and your cficnt. '|`his case has not been
Spccil'tcall_v selected f`or this progmnt: tl‘.c C.`lcrl\‘ S<:nds nut this notice in every civil cztsc. lf`zt party dcclincs to consent 10 a
rcl`crcncc, that fact is known nnl)l to the (Tlcrk and not tn any oi`tllc Districl car Magistratc _¢ttdgcs.

‘I"ltis program has proved 10 he ol`grcat benefit 10 ct)unscl. clicnt. and the (`t‘)url.

Si ncc ly yours
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Case 3:15-cv-00959-I\/||\/|H-.]RK Document 34-2 Filed 04/26/18 Page 2 of 2 Page|D 457

AO 85 (Rev. 01)'09} Notice, Consent., and Reference of a Civll Action to a Maglstrate lodge

UNITED STATES DISTRICT CoURT

for the
Plat`nftjf )
vt ) Civil Action No.
)
Defendam )

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Non'ce afa magistrate judge ’s availability A Unitcd States magistrate judge of this court is available to conduct all
proceedings in this civil action (including ajury or nonjury trial) and to order the entry ofa final judgmentl 'I'he judgment may
then be appealed directly to the United States court of appeals like any othcrjudgment of this court A magistrate judge may
exercise this authority only if all parties voluntarily consent

You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
Substantive consequences The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.

Consenf 10 a magistrate judge ’.s' authority 'l`he following parties consent to have a Unitcd States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings

Parn'es ’ printed names Signatures of parties or attorneys Dat`es

Rcference Order

IT IS ORDERED: This case is referred to a Unitcd States magistrate judge to conduct all proceedings and
order the entry ofa final judgment in accordance with 23 U_S.C. § 636(c) and Fed` R. Civ, P` 73_

Date:

Disn'i'cr Ju_d§e’s signature

Prr'med name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge, Do not return this form to a judge

